

Albuquerque v City of New York (2020 NY Slip Op 06696)





Albuquerque v City of New York


2020 NY Slip Op 06696


Decided on November 17, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2020

Before: Manzanet-Daniels, J.P., Singh, Scarpulla, Shulman, JJ. 


Index No. 158436/15 Appeal No. 12402 Case No. 2020-02452 

[*1]Jose Albuquerque et al., Plaintiffs-Respondents,
vThe City of New York et al., Defendants-Appellants.


Shaub, Ahmuty, Citrin &amp; Spratt, LLP, Lake Success (Payne T. Tatich of counsel), for appellants.
Pollack, Pollack, Isaac &amp; DeCicco, LLP, New York (Brian J. Isaac of counsel), for respondents.



Order, Supreme Court, New York County (Arlene P. Bluth, J.), entered March 4, 2020, which granted plaintiffs' motion for partial summary judgment on the issue of liability on their Labor Law § 240(1) cause of action, unanimously affirmed, without costs.
The bracing timber thrown into the trench where defendants' contractor was installing a water main, to brace a section of pipe, was "a load that required securing," regardless of the fact that it was deliberately lowered down (Gutierrez v 610 Lexington Prop., LLC, 179 AD3d 513 [1st Dept 2020]; Diaz v Raveh Realty, LLC, 182 AD3d 515, 516 [1st Dept 2020]; see Mora v Sky Lift Distrib. Corp., 126 AD3d 593, 594-595 [1st Dept 2015]). Contrary to defendants' contention, plaintiff construction worker was not standing in a drop zone and was not struck by an object or debris for which a securing device was not "necessary or even expected" (Roberts v General Elec. Co., 97 NY2d 737, 738 [2002] [internal quotation marks omitted]; compare Torres v Love Lane Mews, LLC, 156 AD3d 410, 411 [1st Dept 2017]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2020








